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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  UNITED STATES OF AMERICA                             §
                                                       §
  v.                                                   §   CRIMINAL NO. 4:15CR216
                                                       §
  NOAH RONTE GLADSTONE                                 §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having

 heretofore referred the request for revocation of Defendant’s supervised release to the United

 States Magistrate Judge for proper consideration. The Court has received the Report of the United

 States Magistrate Judge pursuant to its order. Defendant having waived allocution before this

 Court as well as his right to object to the Report of the Magistrate Judge, the Court is of the opinion

 that the findings and conclusions of the Magistrate Judge are correct.

        It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the

 opinion of the Court. It is further ORDERED that Defendant’s supervised release is hereby

 REVOKED. It is further ORDERED that Defendant be committed to the custody of the Bureau

 of Prisons to be imprisoned for a term of four (4) months, followed by a term of four (4) months

 detention in a halfway house. If space is not available in a halfway house, Defendant shall be

 placed on home detention at a residence approved in advance by the supervising officer for a term

 of four (4) months following release from the Bureau of Prisons. After Defendant spends the term

 of four (4) months in either a halfway house or on home detention, Defendant shall serve a term

 of eighteen (18) months supervised release with the previously imposed conditions.




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           IT IS SO ORDERED.

           SIGNED this 7th day of October, 2020.




                                     ___________________________________
                                     AMOS L. MAZZANT
                                     UNITED STATES DISTRICT JUDGE




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